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               8                                UNITED STATES DISTRICT COURT
               9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
              10                  AND FOR THE NORTHERN DISTRICT OF CALIFORNIA
              11

              12 MARCIANO PLATA, et al.,                                  Case No.: 4:01-cv-01351-JST

              13                 Plaintiffs,
                          v.
              14
                    GAVIN NEWSOM, et al.,
              15
                                 Defendants.
              16
                    RALPH COLEMAN, et al.,                                Case No.: 2:90-cv-00520-KJM-DB
              17
                                 Plaintiffs,
              18          v.

              19 GAVIN NEWSOM, et al.,

              20                 Defendants.

              21 JOHN ARMSTRONG, et al.,                                  Case No.: 4:94-cv-02307-CW
              22                 Plaintiffs,
                          v.
              23
                    GAVIN NEWSOM, et al.,
              24
                                 Defendants.
              25

              26                                NOTICE OF FILING OF RECEIVER’S
                                               FIFTY-FOURTH TRI-ANNUAL REPORT
              27

              28
FUTTERMAN DUPREE                    NOTICE OF FILING OF RECEIVER’S FIFTY-FOURTH TRI-ANNUAL REPORT
  DODD CROLEY              Case No.: 4:01-CV-01351-JST, Case No.: 4:94-CV-02307-CW, and Case No.: 2:90-CV-00520-KJM-DB
    MAIER LLP
                   Case 2:90-cv-00520-KJM-DB Document 7990 Filed 10/02/23 Page 2 of 35


               1          PLEASE TAKE NOTICE that Receiver J. Clark Kelso has filed herewith his Fifty-fourth

               2 Tri-Annual Report in Plata, et al. v. Newsom., et al., Case No.: 4:01-cv-01351-JST; Coleman, et

               3 al. v. Newsom, et al., Case No.: 2:90-cv-00520-KJM-DB, and Armstrong, et al. v. Newsom, et al.

               4 Case No.: 4:94-cv-02307-CW.

               5                                                    Respectfully submitted,

               6 Dated: October 2, 2023                             FUTTERMAN DUPREE DODD CROLEY
                                                                    MAIER LLP
               7

               8                                                    By:          /s/ Jamie L. Dupree
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FUTTERMAN DUPREE
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  DODD CROLEY                       NOTICE OF FILING OF RECEIVER’S FIFTY-FOURTH TRI-ANNUAL REPORT
    MAIER LLP              Case No.: 4:01-CV-01351-JST, Case No.: 4:94-CV-02307-CW, and Case No.: 2:90-CV-00520-KJM-DB
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Vision:

We enhance public safety and promote successful
community reintegration through education, treatment
and active participation in rehabilitative and restorative
justice programs.



Mission:

To facilitate the successful reintegration of the
individuals in our care back to their communities
equipped with the tools to be drug-free, healthy, and
employable members of society by providing education,
treatment, rehabilitative and restorative justice
programs, all in a safe and humane environment.
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Section 1: Status and Progress Concerning Remaining Statewide Gaps

A. Reporting Requirements and Reporting Format

This is the fifty-fourth report filed by the Receivership, and the forty-eighth submitted by Receiver
J. Clark Kelso.

The Order Appointing Receiver (Appointing Order) filed February 14, 2006, calls for the Receiver
to file status reports with the Plata Court concerning the following issues:
    1. All tasks and metrics contained in the Turnaround Plan of Action (Plan) and subsequent
         reports, with degree of completion and date of anticipated completion of each task
         and metric.
    2. Particular problems being faced by the Receiver, including any specific obstacles
         presented by institutions or individuals.
    3. Particular successes achieved by the Receiver.
    4. An accounting of expenditures for the reporting period.
    5. Other matters deemed appropriate for judicial review.
(Reference pages 2–3 of the Appointing Order at https://cchcs.ca.gov/wp-
content/uploads/sites/60/2017/08/2006-02-14 Order Appointing Receiver.pdf)

The Court’s March 27, 2014, Order Re: Receiver’s Tri-Annual Report directs the Receiver to
summarize in each Tri-Annual Report the level of care being delivered at California Health Care
Facility (CHCF); difficulties with recruiting and retaining medical staff statewide; sustainability of
the reforms the Receiver has achieved and plans to achieve; updates on the development of an
independent system for evaluating the quality of care; and the degree, if any, to which custodial
interference with the delivery of care remains a problem.

The Receiver filed a report on March 10, 2015, entitled Receiver’s Special Report: Improvements
in the Quality of California’s Prison Medical Care System wherein he outlined the significant
progress in improving the delivery of medical care in California’s prisons and also the remaining
significant gaps and failures that must still be addressed. The identified gaps are availability and
usability of health information; scheduling and access to care; care management; and health care
infrastructure at facilities.

To assist the reader, this Report provides two forms of supporting data:
    • Appendices: This Report references documents in the Appendices of this Report.
    • Website References: Website references are provided whenever possible.

In support of the coordination efforts by the three federal courts responsible for the major health
care class actions pending against California Department of Corrections and Rehabilitation
(CDCR), the Receiver files the Tri-Annual Report in three different federal court class action cases:
Armstrong, Coleman, and Plata. An overview of the Receiver’s enhanced reporting
responsibilities related to these cases and to other Plata orders filed after the Appointing Order

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can be found in the Receiver’s Eleventh Tri-Annual Report on pages 15 and 16.
(https://cchcs.ca.gov/wp-content/uploads/sites/60/T11 20090601 11thTriAnnualReport.pdf)

Court coordination activities include: health care contracting; facilities, construction, and
activation; telemedicine, information technology, and the Electronic Health Records System
(EHRS); nursing; pharmacy; recruitment and hiring; statewide health care grievances;
institutional Chief Executive Officers; credentialing and privileging; and space coordination.

B. Progress during this Reporting Period

    (i)     Office of the Inspector General
The Office of the Inspector General (OIG) has completed Cycle 6 medical inspections at 34
institutions. During this reporting period, the OIG issued draft reports for San Quentin
Rehabilitation Center (SQ), Ironwood State Prison (ISP), and CHCF and final reports for California
Institution for Men (CIM), SQ, California City Correctional Facility (CAC), and ISP. CIM, CAC, and
ISP all received adequate ratings while SQ received an inadequate rating. A strategic plan was
developed by SQ in 2022, in which the institution self-identified the majority of issues raised in
the OIG report and implemented plans to address these items. Following release of the report,
SQ evaluated each of the OIG’s recommendations, determined which had already been
addressed, and considered whether any recommendations require additional plans. During this
reporting period, the OIG completed Cycle 7 medical inspections for Wasco State Prison (WSP),
California State Prison, Solano (SOL), California Rehabilitation Center (CRC), California State
Prison, Corcoran (COR), and California Medical Facility (CMF); draft reports are pending
completion by the OIG.

    (ii)     Delegations
As of the filing of this report, the Receiver has delegated the medical operations at 21 institutions
to the CDCR Secretary’s authority. During this reporting period, on August 2, 2023, the Receiver
delegated ISP.

    (iii)  The California Model
The foundation of the California Model is comprised of the following four pillars: Dynamic
Security; Normalization; Peer Support; and Trauma Informed Organization. During this reporting
period, the focus for the California Model was to provide high-level training to the Planning and
Implementation Team, as well as to the eight test site team members from Central California
Women’s Facility (CCWF), COR, California State Prison, Sacramento (SAC), Richard J. Donovan
Correctional Facility (RJD), Substance Abuse Treatment Facility (SATF), SQ, Salinas Valley State
Prison (SVSP), and Valley State Prison (VSP). The one-hour training was focused on a California
Model introduction to Norwegian and international correctional principles.

Additionally, each of the test sites will receive a two-day training in September 2023 geared
towards staff who will implement new projects at their facilities. The training will focus on
Resource Team concepts, an intensive program that meets the needs of the highest-risk and
highest-need incarcerated persons at the highest levels of security with the goal of reducing the
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use of force and violent incidents against staff, as well as the Contact Officer concepts, a high
intensity engagement by staff for a group of incarcerated persons who need more support and
attention so they can transition to the community successfully. The training will also focus on
utilizing the principles of dynamic security, activities, and normalization.

The SQ Advisory Council met four times during this reporting period. All four sessions were
working groups to develop recommendations for inclusion in the report due to the Governor on
December 1, 2023.

    (iv)    Specialty Services Backlog Progress
California Correctional Health Care Services (CCHCS) has continued to focus on reducing the
patient appointment backlogs that accumulated during the COVID-19 pandemic and due to lack
of available providers. There has been continued statewide success in reducing the backlog of
primary care provider, laboratory, and optometry appointments as well as other specialty
services.

CCHCS continues to identify new ways of conducting appointments, such as through telemedicine
or e-consults, to decrease the amount of unnecessary patient movement and provide the ability
for more convenient and timely care. Providers are receiving updated training on e-consults to
ensure efficient use of time and timely responses to specialized diagnostic questions.

In an effort to decrease unnecessary, untimely, and costly appointment refusals, CCHCS Quality
Management is analyzing the varying reasons why a patient would refuse an outside specialty
appointment. A portion of the patient population was surveyed regarding potential refusal
reasons, and the data is being analyzed to identify areas where enhanced collaboration and
communication between patients and CCHCS will help ensure that patients attend necessary
appointments for the purpose of improving quality of life and ensuring medical needs are fulfilled
timely.

During this reporting period, CCHCS completed the scheduling initiative project, which details
best practices for scheduling of patient appointments both onsite and offsite and implements
the Consolidated Patient Provider Calendar (CPPC) for use in the scheduling of medical, dental,
and mental health appointments. The CPPC is designed to integrate information from both CDCR
and CCHCS patient calendars to decrease the likelihood of conflicting appointments. In addition,
the HealthNet Provider Roster has been updated by regional field staff to ensure accurate
information is used to schedule offsite patient appointments.

During this reporting period, CCHCS addressed and closed approximately 150,000 specialty
orders encompassing numerous types of appointments including offsite, onsite, telemedicine,
and treatments such as dialysis and physical therapy. During the reporting period, CCHCS closed
95 percent of pending (completed but still open) specialty appointments.




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    (v)     Institution and Facility Closures
During this reporting period, the closure of California Correctional Center was completed on June
30, 2023, and the following facilities were deactivated: Facility D at California Correctional
Institution (CCI); Facilities E and F at California Men’s Colony (CMC); and Facilities B and C at CAC.
A complete closure of CAC is anticipated by March 2024. Additional information related to
institution closures and deactivations can be found on the CDCR website at
https://www.cdcr.ca.gov/prison-closures/.

    (vi)     Armstrong
During this reporting period, 16 Armstrong Monitoring Tours were scheduled. Of those 16,
Plaintiffs conducted 14 onsite tours, and at the request of Plaintiffs, two were cancelled. CCHCS
continues to coordinate with CDCR in examining the Armstrong Monitoring Tour Reports, in
collaboration with Plaintiffs and the CCHCS Office of Legal Affairs, CDCR Office of Legal Affairs,
and Office of the Attorney General. In addition, various workgroups continue to meet to address
concerns related to Armstrong class members. The Deaf and Hard of Hearing workgroup has
been focused on the standard and performance of current hearing aids prescribed to patients.
CCHCS is working with its hearing expert to identify the specifications for hearing aids to include
in the next statewide contract. The Blind and Low-Vision workgroup has explored various
auxiliary devices designed to assist class members with reading and writing. CCHCS and CDCR
are testing devices recommended by their vision expert to determine the appropriate type to
provide to class members.

On May 12, 2023, CCHCS and CDCR introduced a process whereby patients are able to purchase
and receive prescription eyeglasses from a third-party vendor. This new program has been well
received by the incarcerated population and supported by the statewide Inmate Family Council.
Recommendations for improvement have been shared and CCHCS and CDCR leadership are
receptive to updating policy. Additionally, CCHCS and CDCR released a policy memorandum on
August 25, 2023, instructing institutions to make a Durable Medical Equipment (DME) repair kit
available to patients with disabilities who wish to conduct minor repairs on their walkers or
wheelchairs. Although a few institutions previously provided this service, this statewide
expansion will decrease the need to send DME to outside vendors for repair.

Effective July 11, 2023, a new advocacy letter process was established. Training on this new
process was made available on the Learning Management System, and all classifications involved
in the process were required to complete training by July 10, 2023. Under this new process,
institutions and parole field offices will assume the responsibility of addressing and resolving
issues that arise at their respective locations, while headquarters will oversee the process
through supervisory reviews. The process is now fully implemented and managed by the CDCR
Office of Legal Affairs.

On August 24, 2023, six months following the Court’s adoption of the Armstrong Court Expert’s
December 2022 report on the treatment of disabled patients at SATF, the Court Expert filed his
second report. While he found much improvement in the delivery of accommodations to people
with disabilities, he also identified continued deficiencies in the provision of accommodations to
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deaf and hard of hearing patients as well as the lack of a standardized process to provide
non-medical assistive devices to patients with disabilities. Leadership at SATF, CDCR, and CCHCS
will continue to work together to address the findings detailed within the report.

   (vii)   Integrated Substance Use Disorder Treatment

Screening & Assessments
During this reporting period, approximately 39,414 patients were screened or assessed for
substance use disorder (SUD) and approximately 5,029 patients were risk stratified. Of those
screened and risk stratified, 4,496 patients were referred for a Medication-Assisted Treatment
(MAT) evaluation and 4,431 patients were referred for substance use related Cognitive
Behavioral Interventions (CBI).

Medical and Behavioral Health Provider Workforce
Patients are assessed for SUD by Medical Services’ Licensed Clinical Social Workers (LCSW) using
the National Institute on Drug Abuse (NIDA) Modified Assist (MA), the American Society of
Addiction Medicine (ASAM) Co-Triage, and the ASAM Re-Entry Interview Script Enhancement
(RISE).

During this reporting period, LCSW staff completed 5,030 NIDA MA assessments, 4,459 Co-Triage
assessments, 279 ASAM Continuums, and 1,637 ASAM RISE assessments. Consistent with health
care policy, and in an effort to provide ongoing support to high-risk patients and those at highest
risk to overdose, CCHCS continues to offer services to this population, including those who
previously refused.

Delivery of Cognitive Behavioral Therapy (CBT) based on the Seeking Safety curriculum expanded
during this reporting period. Referral to CBT groups is currently active at seven institutions
(California Institution for Women [CIW], CHCF, CMC, CRC, Correctional Training Facility, California
State Prison, Los Angeles County [LAC], and SOL), with patients at six additional institutions
prepared for CBT once services are launched at those institutions in the near future.

Hiring for Integrated Substance Use Disorder Treatment (ISUDT) behavioral health providers
continues to be a priority. During this reporting period, 6 LCSWs, 3 Supervising Psychiatric Social
Worker (SPSW) Is, and 1 SPSW II were hired. In addition to those hired, recruitment efforts have
resulted in offers to an additional 15 LCSWs and 3 SPSW Is to be hired during the next reporting
period. In the meantime, registry staff are being sought to bridge staffing needs due to vacancies.

Medication-Assisted Treatment
As of August 31, 2023, the number of patients receiving MAT is 15,813. During this reporting
period, 3,303 patients were evaluated for MAT initiation, 2,150 of whom (55 percent) started
medication. CCHCS provided naloxone to 8,948 individuals upon release (22 percent of all those
released during this period) of which 2,187 (21 percent) were on MAT. Additionally, 5,258
patients previously receiving MAT while incarcerated have chosen to discontinue treatment.

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In addition to the standard agents prescribed for MAT (sublingual buprenorphine, oral
naltrexone, oral acamprosate), CCHCS offers alternative agents such as methadone, injectable
buprenorphine (Sublocade®), and injectable naltrexone (Vivitrol®) via an established alternative
agent authorization (AAA) process initiated within the EHRS. With increased demand for
alternative agents, Medical Services has refined the process for reviewing AAA requests, resulting
in a more efficient review. At the end of the previous reporting period, 258 patients were on
alternative MAT agents. That number has increased to 426, with 371 receiving Sublocade®, 12
receiving Vivitrol®, and 43 receiving methadone through a contracted Narcotic Treatment
Program.

Beyond providing naloxone to patients upon release or staff administering intranasal naloxone
during resuscitation efforts related to suspected opioid overdose, CDCR and CCHCS have begun
to offer naloxone nasal spray kits directly to patients as a keep-on-person medication. The goal
of expanding naloxone distribution is to further reduce opioid overdose morbidity and mortality.

Cognitive Behavioral Interventions
Institutions continue to return to in-person CBI programming. As of August 31, 2023, 118
patients are participating in packet programming, and 10,225 are participating in in-person
programming.

Supportive Housing
Supportive Housing aims to provide a safe and secure environment for independent living and
housing stability that promotes recovery and eliminates the stigma associated with addiction. As
of August 31, 2023, there are 23,038 Supportive Housing beds identified, with 14,930 beds
occupied. Of those occupied, 6,131 are participating or have participated in ISUDT.

Transition Services
During this reporting period, resource teams have successfully linked 2,034 of 2,258 (90 percent)
MAT-prescribed patients to community providers for continuation of care. A minimum 30-day
supply of MAT medications (excluding methadone and Sublocade®) was provided to patients
releasing to the community as a bridge for the continuity of care. During this reporting period,
8,823 of 9,370 patients (94 percent) accepted naloxone upon release with education for its use
in the prevention of opioid overdose. Additionally, the ISUDT external and internal tools have
been redesigned to a more user-friendly format and enable the resource teams to contact both
external and internal providers and stakeholders. The external tool contains community provider
contacts organized by county and service type.

ISUDT Publications
ISUDT patients continue to receive a monthly issue of the “ISUDT Insider,” a newsletter-style
publication that includes program information, wellness tips, brain-teasing activities, inspiring
patient feedback, notes of encouragement from staff, and fillable journal entries. Recent themes
featured The Voice Within, Celebrating Individuality, The Importance of Self-Care, and
International Overdose Awareness Day.

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Peer Support Specialist Program
On June 28, 2023, training materials were submitted to California Mental Health Services
Authority (CalMHSA) for approval, and on August 7, 2023, CalMHSA awarded CDCR the Medi-Cal
Peer Support Specialist training provider status. This designation recognizes CDCR as one of 25
approved training providers in California and makes CDCR the first correctional program in the
state and first correctional entity in the nation to become certified. Becoming an approved
CalMHSA Medi-Cal Peer Support Specialist training entity allows CDCR to structure training to
meet the needs of its unique population and ensures the Peer Support Specialist Program aligns
with community standards, supports internal program quality control, and achieves
cost-effective long-term sustainability. Kick-offs will be occurring during the coming months for
the five test sites (Avenal State Prison [ASP], CCWF, CMF, VSP, and Calipatria State Prison).

C. Particular Problems Faced by the Receiver, Including Any Specific Obstacles Presented by
   Institutions or Individuals

    (i)     Healthcare Facilities Maintenance and Environmental Services
During this reporting period, the CCHCS Health Care Facility Support (HCFS) unit conducted nine
Healthcare Facilities Maintenance (HFM) assessments (CCWF, VSP, CRC, CAC, CCI, CMF, SOL, ASP,
Pleasant Valley State Prison) and one PRIDE Industries assessment at CMF. CMF uses two
separate entities, HFM and PRIDE Industries, to provide janitorial services with separate
assessments conducted for each entity. Of the ten assessments published during this reporting
period, all received a passing score, with nine scoring over 90 percent and one scoring over 80
percent. The HCFS unit also published three reports for assessments completed during the
previous reporting period: CHCF Environmental Services (86.7 percent), CHCF PRIDE Industries
(93.3 percent), and High Desert State Prison HFM (93.1 percent).

On May 3, 2023, CCHCS received a decision from the State Personnel Board (SPB) in the challenge
filed by Service Employees International Union 1000 (SEIU) regarding the agreement between
CDCR and PRIDE Industries, related to environmental and high touch point cleaning services at
CMF, Psychiatric Inpatient Program. The SPB decision determined that the contract is
impermissible under Government Code section 19130, subdivision (b)(3), and ordered the
contract to be terminated effective November 3, 2023. Due to challenges with recruitment
efforts for civil service custodial positions and to ensure cleaning services are uninterrupted,
CCHCS submitted a request to SPB on August 29, 2023, requesting an extension of the contract
termination date. On September 18, 2023, SPB granted the request for extension of termination
of the contract to August 3, 2024. CCHCS and CDCR are hopeful that recent negotiated salary
increases for custodian union members and collaboration with SEIU will drive sufficient interest
in custodial candidates interested in working for CDCR to provide proper and uninterrupted
cleaning services at CMF.

Multiple follow-up visits to SATF have been completed to assess progress since the initial
inadequate assessment in August 2022. SATF has shown improvement in overall cleanliness, and
HFM continues to provide training to civil service and incarcerated staff to ensure compliance is
maintained. The sixth and final unannounced visit by HCFS staff was conducted on July 25, 2023,
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and the cleanliness was found to be greatly improved since the August 2022 assessment.
Memorandums outlining the follow-up inspections for the special reviews completed in May,
June, and July 2023 have been completed and submitted to stakeholders.

HFM assessments were conducted at CIW August 23 through 25, 2023, and at SATF August 28
through 31, 2023. Both reports will be published during the next reporting period.

Work continues to amend the multi-year contract executed in June 2022 with the California
Prison Industry Authority to address Health Care Facility Improvement Program (HCFIP) projects,
inclusive of Minimum Support Facility re-openings, as well as the planned future closures and
deactivations.

   (ii)    Health Care Infrastructure at Facilities
With a consistent focus on communication, transparency, and cross-departmental collaboration,
HCFIP has maintained a reduction in project completion delays statewide. The availability of
labor remains positive, including for previously challenged projects. The ongoing proactive
partnership between the institutions, CDCR Facility Planning, Construction, and
Management Division, and CCHCS continues to be integral to the overall improvements.

The previously reported destructive testing (pre-construction testing that requires destroying
part of the original construction to find hidden issues) at the new Reception Center (RC) screening
area addition at CCWF is complete. Final inspections were successful, and the certificate of
occupancy was received for Building 17, Receiving & Release (R&R), on August 25, 2023. The
space will open in September 2023.

During this reporting period, the following subprojects were successfully activated: the Facility B
Primary Care Clinic renovation at VSP; Central Health Services Specialty Exam and Administration
renovation, RC Health Care Processing renovation, and R&R Nurse Reception at North Kern State
Prison; two RC Health Care Processing renovations and the RC Health Care Processing R&R
renovation at WSP.

    (iii)  Scheduling and Ducating
Health Care Access Unit (HCAU) Operations Monitoring Audits (OMA) Focused Reviews were
completed for Round VIIIb. During this review period, HCAU Focused Reviews were conducted
for COR, SAC, and LAC. The OMA guide is currently being revised to identify and monitor issues
reported throughout Round VIIIb Focused Reviews and Special Reviews. Institutions continue to
have concerns with adherence to ducat times, which is due in part to interruptions to normal
operations, such as modified programs lasting less than 24 hours. Other instances of
non-adherence are due to patients reporting to their appointments outside of the required
timeframes once they are called by clinic areas. In the future, an emphasis will be placed on
collaboration between custody and health care to ensure the ducat process is followed.

Corrections Services has begun a review of HCAU Officer positions. Due to COVID-19 and
adjustments made to accommodate health care processes, a review of positions is being
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conducted to ensure appropriate utilization. The review began with SAC and has been completed
at RJD, Pelican Bay State Prison, CIW, SVSP, and CCWF. The review identified many positions that
could be utilized in a more efficient manner and improve patient access to care.
Recommendations have been made to align the positions with workload. Reviews of the
remaining institutions will continue in the coming months.

Transportation Vehicles
The majority of institutions are experiencing challenges keeping pace with specialty
appointments due to the number of offsite appointments versus the availability of serviceable
vehicles. General maintenance of vehicles due to the accumulation of extensive mileage and
breakdowns (redline) are impacting access to care. Institution closures allowed vehicles to be
redirected to assist institutions for medical transports. Temporary redirects from one institution
to another have been occurring to further assist in access to care.

As of the end of the reporting period, CHCF has 16 Americans with Disabilities Act (ADA) vehicles
and 7 passenger vehicles redlined due to repairs, or a pending appointment with a vendor.
Corrections Services redirected six vehicles to CHCF from the closure of existing facilities. The
Chief Medical Executive reviews patients to determine the priority of each appointment.

Prior to COVID-19, the window to order vehicles (order banks) spanned multiple months and
were generally open during the spring when the Fleet Acquisition Plan is approved. Thus, placing
orders was not affected by order banks. Since COVID-19, order banks have had limited windows
of being open, sometimes only a few days, and have been staggered with windows of openings.
In fiscal year (FY) 2021-2022, the department purchased 28 vehicles and in FY 2022-2023, an
additional 2 were purchased. The state is currently in the process of procuring 51 vehicles for
health care access. The window for this FY has opened and purchase orders for the 51 vehicles
have been confirmed and sent to the manufacturer. Of those, 21 vehicles were funded by
reducing the number of Emergency Response Vehicles (ERV) to be purchased. The number was
reduced from a total of five down to three with the expectation that the other ERVs will be
purchased during the next procurement process.

The annual budget for fleet replacement is $8,000,000. The department is currently utilizing
Geotab Telematics System for all vehicles with the annual cost of the contract at $1,000,000 per
year. This expense is deducted from the $8,000,000 per year, reducing the annual fleet
replacement allotment to $7,000,000 per year. The cost of modifications for a transport van
prior to being placed into service is estimated as being $23,000, and $30,000 for an ADA/security
transport van. The required vehicle modifications are also deducted from the $7,000,000.

The department is increasing the ratio of ADA accessible vehicles over regular transport vans, as
the number of patients requiring this type of vehicle has increased. The Office of Business
Services has determined the priority vehicles need to be 140, due to high mileage and purchase
year. Corrections Services provided a survey to all institutions requesting the number of health
care vehicles at each institution and the current number that are inoperable. Information
received indicated that out of 1,008 health care vehicles statewide, 170 were not in service.
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Section 2: Other Matters Deemed Appropriate for Judicial Review

A. California Health Care Facility – Level of Care Delivered

CHCF’s health care leadership remains focused on ensuring the delivery of quality health care
services to its patient population. As of the end of this reporting period, CHCF is at 79 percent of
patient capacity (2,333 current population; 2,953 capacity) and 33 of the 36.5 budgeted provider
positions are filled as follows:

   •   Physician and Surgeon: 33.5 positions, 30 filled, 3.5 vacant
   •   Physician Assistant: 3 positions, 3 filled, 0 vacant

As reflected in the August 2023 Primary Care Provider Clinical Vacancy Coverage Monthly Staffing
Report (refer to Appendix 1), civil service telemedicine providers and contract registry providers
are utilized to deliver care at CHCF, which increases the available coverage to just over 97 percent
of budgeted positions for providers as of the end of this reporting period.

B. Statewide Medical Staff Recruitment and Retention

CCHCS continues to make progress resolving the challenges outlined in the March 10, 2015,
Special Report: Improvements in the Quality of California’s Prison Medical Care System. Through
frequent assessment of staffing ratios, health care delivery models, and retention strategies,
CCHCS has implemented a series of flexible and continuously evolving solutions to ensure the
delivery of timely, quality health care services to patients through a stable provider workforce.
As of August 31, 2023, 30 percent of institutions (10 institutions) have achieved the goal of filling
90 percent or higher of their civil service provider positions; 21 percent (7 institutions) have filled
between 75 and 89 percent of their civil service provider positions; and 49 percent (16
institutions) have filled less than 75 percent of their civil service provider positions. However,
when on-site civil service, telemedicine, and contract registry providers are utilized to deliver
care statewide, coverage at 19 institutions is at or above 90 percent (refer to Appendix 1). The
following summarizes the continuous recruitment efforts during this reporting period:

   •   CCHCS’ recruiting and dedicated hiring efforts continue to generate a consistent
       candidate pipeline. Since January 1, 2023, CCHCS has hired 17 new physicians, with 1
       hired in the Telemedicine program, 2 hired at headquarters, and 14 hired in the
       institutions.
   •   The Telemedicine Program maintains its ability to recruit and retain providers. While
       there was a slight drop in fill rates from 93 to 87 percent since the previous reporting
       period, the program currently has 2 pending hires and 15 candidates interviewing for 7
       vacancies.
   •   The list of states identified for travel restrictions by Assembly Bill 1887 continues to
       expand. Currently, 26 states with discriminatory laws targeting the LGBTQ+ community
       are included in the travel ban. When unable to attend in person, CCHCS ensures an
       advertising presence at events, as available. CCHCS will conclude the calendar year with
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       exhibit booths at the National Commission on Correctional Health Care National
       Conference from September 30 through October 3, 2023, in Las Vegas, NV, and the
       American Academy of Family Physician’s Family Medicine Experience from October 26
       through 30, 2023, in Chicago, IL. In addition to general recruitment efforts, CCHCS is
       expanding its candidate pipeline through the promotion of the California Model and
       speaking with education exhibitors about potential partnerships.
   •   CCHCS is utilizing a third-party physician recruitment platform for focused marketing
       efforts inclusive of job postings and direct communication to providers from recruiters.
       Additionally, the platform allows for geo-targeted outreach by specialty, current
       employer, and medical license. Interested physicians are connected to the centralized
       hiring process where they receive individualized and guided assistance throughout the
       hiring process. Social media recruitment expansion also continues. Campaigns are
       currently in development showcasing the many innovative medical programs CCHCS is
       implementing. Additional efforts are planned for promoting Medical Services’
       Educational Partnerships Program to ensure future candidate pipelines. All efforts will be
       marketed with a tie-in to Diversity, Equity, and Inclusion efforts, promoting CCHCS as an
       employer of choice committed to care and diversity.
   •   As implementation of the California Model continues, CCHCS is developing messaging for
       both CDCR and CCHCS that complements current recruitment marketing efforts. These
       will be applied to digital and print advertisements, collateral pieces, and related outreach.
   •   Throughout spring and summer 2023, CCHCS held multiple hiring events across the state.
       This successful model has resulted in over 615 job offers and continues to assist in its
       mission of bringing open jobs directly to the workforce. Efforts at these events provide
       support for allied health, health care administration, and nursing vacancies and promote
       the correctional health care career path to those entering the health care field.

C. Coordination with Other Lawsuits

Meetings between the three federal courts, Plata, Coleman, and Armstrong (Coordination
Group) class actions have occurred periodically. During this reporting period, the Coordination
Group met on May 2, June 20, and August 1, 2023.

D. Master Contract Waiver Reporting

On June 4, 2007, the Court approved the Receiver’s Application for a more streamlined,
substitute contracting process in lieu of state laws that normally govern state contracts. The
substitute contracting process applies to specified project areas identified in the June 4, 2007,
Order and in addition to those project areas identified in supplemental orders issued since that
date. The approved project areas, the substitute bidding procedures, and the Receiver’s
corresponding reporting obligations are summarized in the Receiver’s Seventh Quarterly Report
and are fully articulated in the Court’s Orders, and therefore, the Receiver will not reiterate those
details here.


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During this reporting period, the Receiver approved use of the substitute contracting process for
a sole source contract with Western University of Health Sciences, Agreement number 22-00175.
This contract is for low vision consulting services. The agreement term is July 18, 2023, through
March 31, 2024, and the agreement amount is $240,000.

E. Consultant Staff Engaged by the Receiver

The Receiver did not engage any consultant staff during the reporting period.

F. Accounting of Expenditures

    (i)      Expenses
The total net operating and capital expenses of the Office of the Receiver for the FY ending June
30, 2023, was $2,530,294. A balance sheet and statement of activity and brief discussion and
analysis is attached as Appendix 2.

For the two months ending August 31, 2023, the net operating expenses were $383,254.

    (ii)   Revenues
For the months of May and June 2023, the Receiver requested transfers of $580,000 from the
State to the California Prison Health Care Receivership Corporation (CPR) to replenish the
operating fund of the Office of the Receiver. Total year to date funding for FY 2022-2023 to the
CPR from the State of California is $2,530,000.

For the two months of July and August 2023, the Receiver requested transfers of $120,000 from
the State to the CPR to replenish the operating fund of the Office of the Receiver. An additional
amount of $265,000 was accrued as of August 31, 2023, to cover all operating expenses incurred
to date. This additional amount was requested in September 2023. Total year to date revenue
(received and accrued) for FY 2023-2024 to CPR from the State of California is $385,000.

All requested funds were received in a timely manner.




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TABLE OF APPENDICES
 1   Primary Care Provider Clinical Vacancy Coverage Monthly Staffing Report – August 2023

 2   California Health Care Receivership Corporation Financial Statements – May through August 2023
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                                                                         CALIFORNIA CORRECTIONAL HEALTH CARE SERVICES
                                                               Monthly Staffing Report - Clinical Vacancy Coverage - Primary Care Provider
                                                                                               August 2023

                                  Total       Telemedicine
                                                                    Total   Filled with PCP % Filled by        Civil Service                   Filled with                                            Registry     Pending
                              Authorized        Positions                                                                      Telemedicine                   Total %   Net Adjusted Pending Civil
   Region       Institution                                      Authorized    Onsite (No   Civil Service       Vacancies                       Registry                                               Open        Registry
                              Positions at   Redirected from                                                                     Coverage                      Filled    Vacancies Service Hires
                                                                  Positions     Telemed)       Onsite             Onsite                           (FTE)                                              Orders        Hires
                              Institutions     Institutions
  Region III       ASP           11.00             0.00             11.00           8.50          77.27%           2.50             0.00          0.00        77.27%         2.50          1.00          2.50          -
  Region III      CAC             3.00             0.00              3.00           2.00          66.67%           1.00             0.00          0.00        66.67%         1.00            -             -           -
  Region IV        CAL            6.00             0.00              6.00           4.50          75.00%           1.50             1.00          0.00        91.67%         0.50          1.00            -           -
  Region III       CCI            6.50             1.00              7.50           5.50          84.62%           1.00             0.00          0.50        80.00%         1.50            -             -           -
  Region II      CCWF            11.00             0.00             11.00          10.00          90.91%           1.00             0.00          2.00       109.09%        (1.00)           -           1.00        1.00
  Region IV       CEN             5.00             1.00              6.00           2.00          40.00%           3.00             4.00          0.00       100.00%         0.00          1.00            -           -
  Region II       CHCF           36.50             0.00             36.50          33.00          90.41%          3.50              0.00          2.50       97.26%         1.00           2.00            -           -
  Region II     CHCF-PIP          0.00             0.00              0.00           0.00            n/a           0.00              0.00          0.00          n/a         0.00             -             -           -
  Region IV       CIM            12.50             0.00             12.50          14.00         112.00%          (1.50)            0.00          0.00       112.00%        (1.50)           -             -           -
  Region IV       CIW             7.00             0.00              7.00           6.00          85.71%           1.00             0.00          0.00        85.71%         1.00            -           1.00        1.00
  Region II       CMC            13.00             0.00             13.00          11.00          84.62%           2.00             0.00          1.00        92.31%         1.00            -             -           -
   Region I       CMF            13.20             1.00             14.20           9.00          68.18%           4.20             3.00          0.00        84.51%         2.20          1.00          0.75          -
   Region I     CMF-PIP           8 80             0.00              8.80           7.00          79.55%           1.80             0.00          0.00        79.55%         1.80            -           1.80          -
  Region III      COR            12.00             1.00             13.00           8.00          66.67%           4.00             3.00          0.00        84.62%         2.00            -           3.00        0.50
  Region IV       CRC             8.00             0.00              8.00           7.50          93.75%          0.50              0.00          0.00       93.75%         0.50             -             -           -
  Region II        CTF           10.00             2.00             12.00           6.00          60.00%          4.00              2.00          1.00       75.00%         3.00             -           2.50        1.00
  Region IV       CVSP            5.00             0.50              5.50           2.50          50.00%          2.50              2.00          0.00       81.82%         1.00             -           1.00          -
   Region I        FSP            7.50             0.00             7.50           8.00          106.67%          (0.50)            0.00          0.00       106.67%        (0.50)           -             -           -
   Region I      HDSP             7.00             1.00              8.00           4.00          57.14%           3.00             4.00          1.00       112.50%        (1.00)         1.00          1.00          -
  Region IV        ISP            3.50             3.00              6.50           1.00          28.57%           2.50             3.00          1.00        76.92%         1.50            -           1.50        1.50
  Region III      KVSP            7.50             1.00              8.50           5.00          66.67%           2.50             2.60          0.00        89.41%         0.90            -           1.00          -
  Region III       LAC           11.00             0.00             11.00           8.00          72.73%           3.00             0.00          2.00        90.91%         1.00            -           1.00        1.00
   Region I      MCSP            17.50             0.00             17.50          16.00          91.43%           1.50             0.00          2.50       105.71%        (1.00)           -             -           -
  Region III     NKSP            11.50             1.00             12.50          11.00          95.65%           0.50             0.00          0.50        92.00%         1.00            -           1.00          -
   Region I       PBSP            4.00             1.00              5.00           2.00          50.00%           2.00             2.00          1.00       100.00%         0.00          2.00          1.00          -
  Region II       PVSP            6.50             0.00              6.50           5.00          76.92%          1.50              1.00          0.00       92.31%         0.50             -           0.50          -
  Region IV        RJD           15.50             0.00             15.50          15.50         100.00%          0.00              0.00          0.00       100.00%         0.00          1.00          1.50        1.50
   Region I        SAC            6.00             1.00              7.00           7.00         116.67%          (1.00)            1.00          0.00       114.29%        (1.00)           -           1.00        1.00
  Region III      SATF           13.50             2.50             16.00          12.00          88.89%           1.50             2.00          1.50        96.88%         0.50            -             -           -
  Region II        SCC            6.00             1.00              7.00           6.00         100.00%           0.00             1.00          0.00       100.00%         0.00            -           1.00          -
   Region I        SOL            8.00             3.00             11.00           4.50          56.25%           3.50             4.00          0.75        84.09%         1.75            -           1.75          -
   Region I        SQ            15.50             1.00             16.50          10.40          67.10%           5.10             1.00          1.00        75.15%         4.10          1.00          2.00          -
  Region II       SVSP            9.70             1.00             10.70           5.00          51.55%           4.70             2.00          1.00       74.77%          2.70          1.00          1.70          -
  Region II     SVSP-PIP          3 30             0.00              3.30           0.00           0.00%          3.30              0.00          2.00       60.61%         1.30             -           1.25          -
  Region II        VSP            9.50             2.00             11.50           6.00          63.16%          3.50              2.00          1.00       78.26%         2.50             -           3.50          -
  Region III      WSP             10.00            1.50             11.50           6.00          60.00%           4.00             2.00          4.00       104.35%        (0.50)           -             -           -
   TOTALS                        341.50           26.50            368.00         268.90          78.74%          72.60            42.60         26.25       91.78%         30.25         12.00         34.25        8.50

* Excludes Temporary Help, Retired Annuitants, Extended Sick Leave, and Military Leave.
** Causes of overages may include, but are not limited to, reduction in PYs due to Fall/Mental Health Population adjustments, approved temporary coverage for special projects, and mission changes. Each overage scenario is
unique; for specific cases, please contact your regional personnel administrator.




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